Case 17-60935-can11 Doc 110-6 Filed 10/16/17 Entered 10/16/17 12:43:06   Desc
                 Supplement Exhibit 6 - POC No. 31 Page 1 of 48
Case 17-60935-can11 Doc 110-6 Filed 10/16/17 Entered 10/16/17 12:43:06   Desc
                 Supplement Exhibit 6 - POC No. 31 Page 2 of 48
          Case 17-60935-can11 Doc 110-6 Filed 10/16/17 Entered 10/16/17 12:43:06                                                                            Desc
                           Supplement Exhibit 6 - POC No. 31 Page 3 of 48

  Fill in this information to identify the case:

  Debtor 1              ìïé Î»²¬¿´-ô ÔÔÝ
                        __________________________________________________________________

  Debtor 2               ________________________________________________________________
  (Spouse, if filing)

  United States Bankruptcy Court for the: É»-¬»®² Ü·-¬®·½¬
                                          __________       ±º Ó·--±«®·
                                                       District of __________

  Case number            ïéóêðçíë
                         ___________________________________________




                                410
 Proof of Claim                                                                                                                                                     12/15

 Read the instructions before filling out this form. This form is for making a claim for payment in a bankruptcy case. Do not use this form to
 make a request for payment of an administrative expense. Make such a request according to 11 U.S.C. § 503.
 Filers must leave out or redact information that is entitled to privacy on this form or on any attached documents. Attach redacted copies of any
 documents that support the claim, such as promissory notes, purchase orders, invoices, itemized statements of running accounts, contracts, judgments,
 mortgages, and security agreements. Do not send original documents; they may be destroyed after scanning. If the documents are not available,
 explain in an attachment.
 A person who files a fraudulent claim could be fined up to $500,000, imprisoned for up to 5 years, or both. 18 U.S.C. §§ 152, 157, and 3571.
 Fill in all the information about the claim as of the date the case was filed. That date is on the notice of bankruptcy (Form 309) that you received.



 Part 1:        Identify the Claim

1. Who is the current
   creditor?
                                      Í·³³±²-    Þ¿²µ ø-«½½»--±® ¾§ ½±²ª»®-·±² ¬± Í·³³±²- Ú·®-¬ Ò¿¬·±²¿´ Þ¿²µô -«½½»--±® ¾§
                                      ___________________________________________________________________________________________________________
                                      Name of the current creditor (the person or entity to be paid for this claim)                                merger to Liberty Bank)
                                      Other names the creditor used with the debtor      Í·³³±²- Ú·®-¬ Ò¿¬·±²¿´ Þ¿²µ ¿²¼ Ô·¾»®¬§ Þ¿²µ
                                                                                         ________________________________________________________________________

2. Has this claim been                 ì No
   acquired from
   someone else?                          Yes. From whom?         ______________________________________________________________________________________________________


3. Where should notices               Where should notices to the creditor be sent?                               Where should payments to the creditor be sent? (if
   and payments to the                 Simmons Bank                                                               different) Simmons Bank
   creditor be sent?
                                      Ó·´´·²¹¬±²ô Ù´¿--ô Ô±ª» ú Ç±«²¹ô ß¬¬²æ Öò Ô±ª»
                                  c/o _____________________________________________________                        ß¬¬²æ Ü¿ª·¼ Í½±¾»»
                                                                                                                  _____________________________________________________
   Federal Rule of                    Name                                                                        Name
   Bankruptcy Procedure
   (FRBP) 2002(g)                     ïçðï Íò Ê»²¬«®¿ô Í«·¬» ß
                                      ______________________________________________________                       èïëï Ý´¿§¬±² Î¼ò
                                                                                                                  ______________________________________________________
                                      Number      Street                                                          Number      Street
                                       Í°®·²¹º·»´¼                       ÓÑ               êëèðì
                                      ______________________________________________________                       Í¬ò Ô±«·-                 ÓÑ           êíïïé
                                                                                                                  ______________________________________________________
                                      City                       State             ZIP Code                       City                       State             ZIP Code

                                      Contact phone
                                                       ìïéòèèíòêëêê
                                                       ________________________                                   Contact phone   íïìòèëìòìëèð
                                                                                                                                  ________________________

                                      Contact email     jlove@springfieldlaw.net
                                                        ________________________                                  Contact email   David.Scobee@simmonsbank.com
                                                                                                                                  ________________________



                                      Uniform claim identifier for electronic payments in chapter 13 (if you use one):

                                      __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __


4. Does this claim amend               ì No
   one already filed?
                                          Yes. Claim number on court claims registry (if known) ________                                Filed on   ________________________
                                                                                                                                                   MM / DD       / YYYY



5. Do you know if anyone               ì No
   else has filed a proof                 Yes. Who made the earlier filing?           _____________________________
   of claim for this claim?




 Official Form 410                                                              Proof of Claim                                                             page 1
        Case 17-60935-can11 Doc 110-6 Filed 10/16/17 Entered 10/16/17 12:43:06                                                               Desc
                         Supplement Exhibit 6 - POC No. 31 Page 4 of 48




 Part 2:    Give Information About the Claim as of the Date the Case Was Filed

6. Do you have any number           No
   you use to identify the                                                                                                   ê ____
                                 ì Yes. Last 4 digits of the debtor’s account or any number you use to identify the debtor: ____ í ____
                                                                                                                                    ð ____
                                                                                                                                        ë
   debtor?



7. How much is the claim?                            ïèíôíêêòéë Does this amount include interest or other charges?
                                   $_____________________________.
                                                                                 No
                                                                             ì Yes. Attach statement itemizing interest, fees, expenses, or other
                                                                                      charges required by Bankruptcy Rule 3001(c)(2)(A).


8. What is the basis of the      Examples: Goods sold, money loaned, lease, services performed, personal injury or wrongful death, or credit card.
   claim?
                                 Attach redacted copies of any documents supporting the claim required by Bankruptcy Rule 3001(c).
                                 Limit disclosing information that is entitled to privacy, such as health care information.

                                  ³±²»§ ´±¿²»¼
                                 ______________________________________________________________________________



9. Is all or part of the claim      No
   secured?                      ì Yes. The claim is secured by a lien on property.
                                           Nature of property:
                                           ì Real estate. If the claim is secured by the debtor’s principal residence, file a Mortgage Proof of Claim
                                                            Attachment (Official Form 410-A) with this Proof of Claim.
                                               Motor vehicle
                                               Other. Describe:         _____________________________________________________________



                                           Basis for perfection:          Ü»»¼- ±º Ì®«-¬
                                                                          _____________________________________________________________
                                           Attach redacted copies of documents, if any, that show evidence of perfection of a security interest (for
                                           example, a mortgage, lien, certificate of title, financing statement, or other document that shows the lien has
                                           been filed or recorded.)



                                           Value of property:                                   ïìêôêçíòìð
                                                                                         $__________________
                                           Amount of the claim that is secured:                 ïìêôêçíòìð
                                                                                         $__________________

                                                                                           íêôêéíòíë (The sum of the secured and unsecured
                                           Amount of the claim that is unsecured: $__________________
                                                                                                      amounts should match the amount in line 7.)



                                           Amount necessary to cure any default as of the date of the petition:                        183,366.75
                                                                                                                              $____________________


                                                                                       êòðð
                                           Annual Interest Rate (when case was filed)_______%
                                           ì Fixed
                                               Variable



10. Is this claim based on a     ì No
    lease?
                                    Yes. Amount necessary to cure any default as of the date of the petition.                 $____________________


11. Is this claim subject to a   ì No
    right of setoff?
                                    Yes. Identify the property: ___________________________________________________________________




                                                                     Proof of Claim                                                         page 2
         Case 17-60935-can11 Doc 110-6 Filed 10/16/17 Entered 10/16/17 12:43:06                                                                             Desc
                          Supplement Exhibit 6 - POC No. 31 Page 5 of 48




12. Is all or part of the claim    ì No
    entitled to priority under
    11 U.S.C. § 507(a)?                   Yes. Check all that apply:                                                                               Amount entitled to priority

   A claim may be partly                      Domestic support obligations (including alimony and child support) under
   priority and partly                        11 U.S.C. § 507(a)(1)(A) or (a)(1)(B).                                                              $____________________
   nonpriority. For example,
   in some categories, the                    Up to $2,775* of deposits toward purchase, lease, or rental of property or services for
   law limits the amount                      personal, family, or household use. 11 U.S.C. § 507(a)(7).                                          $____________________
   entitled to priority.
                                              Wages, salaries, or commissions (up to $12,475*) earned within 180 days before the
                                              bankruptcy petition is filed or the debtor’s business ends, whichever is earlier.                   $____________________
                                              11 U.S.C. § 507(a)(4).
                                              Taxes or penalties owed to governmental units. 11 U.S.C. § 507(a)(8).                               $____________________

                                              Contributions to an employee benefit plan. 11 U.S.C. § 507(a)(5).                                   $____________________

                                              Other. Specify subsection of 11 U.S.C. § 507(a)(__) that applies.                                   $____________________

                                          * Amounts are subject to adjustment on 4/01/16 and every 3 years after that for cases begun on or after the date of adjustment.



 Part 3:    Sign Below

 The person completing            Check the appropriate box:
 this proof of claim must
 sign and date it.                        I am the creditor.
 FRBP 9011(b).                    ì I am the creditor’s attorney or authorized agent.
 If you file this claim            I am the trustee, or the debtor, or their authorized agent. Bankruptcy Rule 3004.
 electronically, FRBP
 5005(a)(2) authorizes courts      I am a guarantor, surety, endorser, or other codebtor. Bankruptcy Rule 3005.
 to establish local rules
 specifying what a signature
 is.                          I understand that an authorized signature on this Proof of Claim serves as an acknowledgment that when calculating the
                              amount of the claim, the creditor gave the debtor credit for any payments received toward the debt.
 A person who files a
 fraudulent claim could be I have examined the information in this Proof of Claim and have a reasonable belief that the information is true
 fined up to $500,000,        and correct.
 imprisoned for up to 5
 years, or both.
                              I declare under penalty of perjury that the foregoing is true and correct.
 18 U.S.C. §§ 152, 157, and
 3571.
                                                   ðçñîêñîðïé
                              Executed on date _________________
                                                           MM / DD     /   YYYY




                                     ñ-ñ Ö»ºº»®§ Öò Ô±ª»
                                     ________________________________________________________________________
                                       Signature

                                  Print the name of the person who is completing and signing this claim:


                                  Name                   Ö»ºº»®§                       Öò                            Ô±ª»
                                                         _______________________________________________________________________________________________
                                                         First name                   Middle name                   Last name

                                  Title                  ß¬¬±®²»§ º±® Í·³³±²- Þ¿²µ
                                                         _______________________________________________________________________________________________

                                  Company                Ó·´´·²¹¬±²ô Ù´¿--ô Ô±ª» ú Ç±«²¹
                                                         _______________________________________________________________________________________________
                                                         Identify the corporate servicer as the company if the authorized agent is a servicer.



                                  Address                ïçðï Íò Ê»²¬«®¿ô Í«·¬» ß
                                                         _______________________________________________________________________________________________
                                                         Number        Street

                                                         Í°®·²¹º·»´¼                                     ÓÑ           êëèðì
                                                         _______________________________________________________________________________________________
                                                         City                                           State       ZIP Code

                                  Contact phone           ìïéòèèíòêëêê
                                                         _____________________________                              Email          ¶´±ª»à-°®·²¹º·»´¼´¿©ò²»¬
                                                                                                                                   ____________________________________




                                                                             Proof of Claim                                                                page 3
Case 17-60935-can11 Doc 110-6 Filed 10/16/17 Entered 10/16/17 12:43:06   Desc
                 Supplement Exhibit 6 - POC No. 31 Page 6 of 48


                            (6) PROOF OF CLAIM ITEMIZATION



Debtor:              417 Rentals, LLC
Case Number:         17-60935



                                   Itemization of Claim

               Principal:                                 $180,937.84
               Interest:                                     $271.41
               Late Fees:                                   $2,157.50

                                              Total       $183,366.75
Case 17-60935-can11 Doc 110-6 Filed 10/16/17 Entered 10/16/17 12:43:06   Desc
                 Supplement Exhibit 6 - POC No. 31 Page 7 of 48
Case 17-60935-can11 Doc 110-6 Filed 10/16/17 Entered 10/16/17 12:43:06   Desc
                 Supplement Exhibit 6 - POC No. 31 Page 8 of 48
Case 17-60935-can11 Doc 110-6 Filed 10/16/17 Entered 10/16/17 12:43:06   Desc
                 Supplement Exhibit 6 - POC No. 31 Page 9 of 48
Case 17-60935-can11 Doc 110-6 Filed 10/16/17 Entered 10/16/17 12:43:06   Desc
                Supplement Exhibit 6 - POC No. 31 Page 10 of 48
Case 17-60935-can11 Doc 110-6 Filed 10/16/17 Entered 10/16/17 12:43:06   Desc
                Supplement Exhibit 6 - POC No. 31 Page 11 of 48
Case 17-60935-can11 Doc 110-6 Filed 10/16/17 Entered 10/16/17 12:43:06   Desc
                Supplement Exhibit 6 - POC No. 31 Page 12 of 48
Case 17-60935-can11 Doc 110-6 Filed 10/16/17 Entered 10/16/17 12:43:06   Desc
                Supplement Exhibit 6 - POC No. 31 Page 13 of 48
Case 17-60935-can11 Doc 110-6 Filed 10/16/17 Entered 10/16/17 12:43:06   Desc
                Supplement Exhibit 6 - POC No. 31 Page 14 of 48
Case 17-60935-can11 Doc 110-6 Filed 10/16/17 Entered 10/16/17 12:43:06   Desc
                Supplement Exhibit 6 - POC No. 31 Page 15 of 48
Case 17-60935-can11 Doc 110-6 Filed 10/16/17 Entered 10/16/17 12:43:06   Desc
                Supplement Exhibit 6 - POC No. 31 Page 16 of 48
Case 17-60935-can11 Doc 110-6 Filed 10/16/17 Entered 10/16/17 12:43:06   Desc
                Supplement Exhibit 6 - POC No. 31 Page 17 of 48
Case 17-60935-can11 Doc 110-6 Filed 10/16/17 Entered 10/16/17 12:43:06   Desc
                Supplement Exhibit 6 - POC No. 31 Page 18 of 48
Case 17-60935-can11 Doc 110-6 Filed 10/16/17 Entered 10/16/17 12:43:06   Desc
                Supplement Exhibit 6 - POC No. 31 Page 19 of 48
Case 17-60935-can11 Doc 110-6 Filed 10/16/17 Entered 10/16/17 12:43:06   Desc
                Supplement Exhibit 6 - POC No. 31 Page 20 of 48
Case 17-60935-can11 Doc 110-6 Filed 10/16/17 Entered 10/16/17 12:43:06   Desc
                Supplement Exhibit 6 - POC No. 31 Page 21 of 48
Case 17-60935-can11 Doc 110-6 Filed 10/16/17 Entered 10/16/17 12:43:06   Desc
                Supplement Exhibit 6 - POC No. 31 Page 22 of 48
Case 17-60935-can11 Doc 110-6 Filed 10/16/17 Entered 10/16/17 12:43:06   Desc
                Supplement Exhibit 6 - POC No. 31 Page 23 of 48
Case 17-60935-can11 Doc 110-6 Filed 10/16/17 Entered 10/16/17 12:43:06   Desc
                Supplement Exhibit 6 - POC No. 31 Page 24 of 48
Case 17-60935-can11 Doc 110-6 Filed 10/16/17 Entered 10/16/17 12:43:06   Desc
                Supplement Exhibit 6 - POC No. 31 Page 25 of 48
Case 17-60935-can11 Doc 110-6 Filed 10/16/17 Entered 10/16/17 12:43:06   Desc
                Supplement Exhibit 6 - POC No. 31 Page 26 of 48
Case 17-60935-can11 Doc 110-6 Filed 10/16/17 Entered 10/16/17 12:43:06   Desc
                Supplement Exhibit 6 - POC No. 31 Page 27 of 48
Case 17-60935-can11 Doc 110-6 Filed 10/16/17 Entered 10/16/17 12:43:06   Desc
                Supplement Exhibit 6 - POC No. 31 Page 28 of 48
Case 17-60935-can11 Doc 110-6 Filed 10/16/17 Entered 10/16/17 12:43:06   Desc
                Supplement Exhibit 6 - POC No. 31 Page 29 of 48
Case 17-60935-can11 Doc 110-6 Filed 10/16/17 Entered 10/16/17 12:43:06   Desc
                Supplement Exhibit 6 - POC No. 31 Page 30 of 48
Case 17-60935-can11 Doc 110-6 Filed 10/16/17 Entered 10/16/17 12:43:06   Desc
                Supplement Exhibit 6 - POC No. 31 Page 31 of 48
Case 17-60935-can11 Doc 110-6 Filed 10/16/17 Entered 10/16/17 12:43:06   Desc
                Supplement Exhibit 6 - POC No. 31 Page 32 of 48
Case 17-60935-can11 Doc 110-6 Filed 10/16/17 Entered 10/16/17 12:43:06   Desc
                Supplement Exhibit 6 - POC No. 31 Page 33 of 48
Case 17-60935-can11 Doc 110-6 Filed 10/16/17 Entered 10/16/17 12:43:06   Desc
                Supplement Exhibit 6 - POC No. 31 Page 34 of 48
Case 17-60935-can11 Doc 110-6 Filed 10/16/17 Entered 10/16/17 12:43:06   Desc
                Supplement Exhibit 6 - POC No. 31 Page 35 of 48
Case 17-60935-can11 Doc 110-6 Filed 10/16/17 Entered 10/16/17 12:43:06   Desc
                Supplement Exhibit 6 - POC No. 31 Page 36 of 48
Case 17-60935-can11 Doc 110-6 Filed 10/16/17 Entered 10/16/17 12:43:06   Desc
                Supplement Exhibit 6 - POC No. 31 Page 37 of 48
Case 17-60935-can11 Doc 110-6 Filed 10/16/17 Entered 10/16/17 12:43:06   Desc
                Supplement Exhibit 6 - POC No. 31 Page 38 of 48
Case 17-60935-can11 Doc 110-6 Filed 10/16/17 Entered 10/16/17 12:43:06   Desc
                Supplement Exhibit 6 - POC No. 31 Page 39 of 48
Case 17-60935-can11 Doc 110-6 Filed 10/16/17 Entered 10/16/17 12:43:06   Desc
                Supplement Exhibit 6 - POC No. 31 Page 40 of 48
Case 17-60935-can11 Doc 110-6 Filed 10/16/17 Entered 10/16/17 12:43:06   Desc
                Supplement Exhibit 6 - POC No. 31 Page 41 of 48
Case 17-60935-can11 Doc 110-6 Filed 10/16/17 Entered 10/16/17 12:43:06   Desc
                Supplement Exhibit 6 - POC No. 31 Page 42 of 48
Case 17-60935-can11 Doc 110-6 Filed 10/16/17 Entered 10/16/17 12:43:06   Desc
                Supplement Exhibit 6 - POC No. 31 Page 43 of 48
Case 17-60935-can11 Doc 110-6 Filed 10/16/17 Entered 10/16/17 12:43:06   Desc
                Supplement Exhibit 6 - POC No. 31 Page 44 of 48
Case 17-60935-can11 Doc 110-6 Filed 10/16/17 Entered 10/16/17 12:43:06   Desc
                Supplement Exhibit 6 - POC No. 31 Page 45 of 48
Case 17-60935-can11 Doc 110-6 Filed 10/16/17 Entered 10/16/17 12:43:06   Desc
                Supplement Exhibit 6 - POC No. 31 Page 46 of 48
Case 17-60935-can11 Doc 110-6 Filed 10/16/17 Entered 10/16/17 12:43:06   Desc
                Supplement Exhibit 6 - POC No. 31 Page 47 of 48
Case 17-60935-can11 Doc 110-6 Filed 10/16/17 Entered 10/16/17 12:43:06   Desc
                Supplement Exhibit 6 - POC No. 31 Page 48 of 48
